Case 2:04-Cr-20307-.]P|\/|-de Document 58 Filed 06/01/05 Page 1 of 3 Page|D 87

IN THE UNI'I`ED STATES DISTRICT COURT
FOR 'I'HE WESTERN DISTRICT OF' TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA
Plail'ltiff,

Criminal No. M- 30307’ Ml

( 3 0 -Day Continuance)

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DATE:_____A_LL.---"

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures helow, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the

Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this l“ day of June, 2005.

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wit::°lcument entered on the docket sheetl o / `
u a 55 and/or 32(b) FRCrP on p n ///

Case 2:04-Cr-20307-.]P|\/|-de Document 58 Filed 06/01/05 Page 2 of 3 Page|D 88

SO ORDERED this lSt day of June, 2005.

0/…‘

JON PHIPPS MCCALLA
U`N ED STATES DISTRICT JUDGE

 

 

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§§ / _./.2 ”
Assistant United States Attorney

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Counsel for Defendant(s)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-20307 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

